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                                                                                  U.S. DISTRICT COURT E.D.N.Y.
  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                                                    * FEB 22. 2017 *
  ------------------------------------------------------------------------){
  VINCENT CURTIS CONYERS,                                                         LONG ISLAND OFFICE

                                               Plaintiff,

                   -against-                                                   ORDER
                                                                               16-CV-13 (JFB) (SIL)
  UNITED STATES DEPARTMENT OF VETERAN
  AFFAIRS,

                                               Defendants.
  ------------------------------------------------------------------------){
  JOSEPH F. BIANCO, District Judge:

           Before the Court is a Report and Recommendation ("R&R") from Magistrate Judge Locke

  recommending that the Complaint in this action be dismissed in its entirety, and that plaintiff be granted

  leave to amend his Complaint. (ECF No. 34.) The R&R instructed that any objections to the R&R be

  submitted within fourteen (14) days of service of the R&R. (See R&R at 38.) The date for filing any

  objections has since expired, and none of the parties has filed any objection to the R&R. For the

  reasons set forth below, the Court adopts the thorough and well-reasoned R&R.

           Where there are no objections, the Court may adopt the report and recommendation without de

  novo review. See Thomas v. Arn, 4 74 U.S. 140, 150 (1985) ("It does not appear that Congress intended

  to require district court review of a magistrate's factual or legal conclusions, under a de novo or any

  other standard, when neither party objects to those findings."); see also Mario v. P & C Food Mkts.,

  Inc., 313 F.3d 758, 766 (2d Cir. 2002) ("Where parties receive clear notice of the consequences, failure

  timely to object to a magistrate's report and recommendation operates as a waiver of further judicial

  review of the magistrate's decision."); cf 28 U.S.C. § 636(b)(l)(c) and Fed. R. Civ. P. 72(b)(3)

  (requiring de novo review after objections). However, because the failure to file timely objections is

  not jurisdictional, a district judge may still excuse the failure to object in a timely manner and exercise

  its discretion to decide the case on the merits to, for example, prevent plain error. See Cephas v. Nash,
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  328 F.3d 98, 107 (2d Cir. 2003) ("[B]ecause the waiver rule is non jurisdictional, we 'may excuse the

  default in the interests of justice."' (quoting Thomas, 474 U.S. at 155)).

           Although all parties have waived any objection to the R&R and thus de novo review is not

  required, the Court has conducted a de novo review of the R&R in an abundance of caution. Having

  conducted a review of the Complaint, the motion papers, and the applicable law, and having reviewed

  the R&R de novo, the Court adopts the findings and recommendations contained in the well-reasoned

  and thorough R&R and dismisses the Complaint in its entirety with leave to add causes of action for

  injunctive relief pursuant to 5 U.S.C. § 552a(g)(l )(A)-(8) and to re-plead causes of action one, two,

  three, four, five, six, eight, nine, and ten. Plaintiff has already filed an Amended Complaint with the

  Court (ECF No. 36), and need notre-file it pursuant to this Order.


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                                                          Jo rP -F'. Bianco
                                                          U •ted States District Judge

  Dated:          February 22, 2017
                  Central Islip, New York




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